Case 1:01-cv-12257-PBS Document 7171-1 Filed 07/08/10 Page 1 of 2

EXHIBIT A

NEWYORK 77131112 (2K)
Case 1:01-cv-12257-PBS Document 7171-1 Filed 07/08/10 Page 2 of 2

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL No. 1456

AVERAGE WHOLESALE PRICE

LITIGATION

THIS DOCUMENT RELATES TO i tee. 01-CV-12257 PBS
ALL ACTIONS udge Patti B. Saris

DECLARATION OF MICHAEL DESIMONE IN SUPPORT OF APPLICATION FOR
ADMISSION PRO HAC VICE

Michael DeSimone, an attorney with the firm of White & Case LLP, 1155 Avenue of the
Americas, New York, NY 10036, hereby declares:

1. I am an attorney admitted to practice before the State Court of New York and the
U.S. District Courts for the Southern and Eastern Districts of New York.

2. I am currently licensed in good standing to practice law in each jurisdiction in
which I have been admitted;

3. There are no disciplinary proceedings pending against me as a member of the bar
in any jurisdiction;

4. I am familiar with the Local Rules of the United States District Court for the
District of Massachusetts; and

5. I represent the defendant Sandoz Inc. in this action.

Signed under the pains and penalties of perjury of the laws of the State of Massachusetts.

Mla) Leds

Michael DeSimone, Esq.

NEWYORK 7711112 (2K)
